826 F.2d 1063
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.Montgomery A. HARVERUAL, Plaintiff-Appellant,v.FEDERAL BUREAU OF INVESTIGATION, and U.S. Attorney General,Defendants- Appellees.
    No. 87-1398.
    United States Court of Appeals, Sixth Circuit.
    Aug. 18, 1987.
    
      1
      Before KEITH and ALAN E. NORRIS, Circuit Judges, and GIBBONS, District Judge.*
    
    ORDER
    
      2
      Appellant has failed to respond to this court's April 28, 1987, order directing him to show cause why his appeal should not be dismissed for lack of jurisdiction.  Appellant has filed a brief but it fails to address the jurisdictional defect.
    
    
      3
      It appears from the record that the final decision was entered September 6, 1984.  The notice of appeal filed on April 13, 1987, was more than two years late.  Rules 4(a) and 26(a), Federal Rules of Appellate Procedure.
    
    
      4
      The failure of an appellant to timely file a notice of appeal deprives an appellate court of jurisdiction.  Compliance with Rule 4(a), Federal Rules of Appellate Procedure, is a mandatory and jurisdictional prerequisite which this court can neither waive nor extend.   Peake v. First Nat'l Bank &amp; Trust Co., 717 F.2d 1016 (6th Cir.1983).  Rule 26(b), Federal Rules of Appellate Procedure, specifically provides that this court cannot enlarge the time for filing a notice of appeal.
    
    
      5
      Accordingly, it is ORDERED that the appeal be and hereby is dismissed for lack of jurisdiction.  Rule 9(b)(1), Rules of the Sixth Circuit.
    
    
      
        *
         The Honorable Julia S. Gibbons, U.S. District Judge for the Western District of Tennessee, sitting by designation
      
    
    